Case 1:07-cv-01205-LG-RHW Document 300-2 Filed 11/13/09 Page1of11

Page 1}

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE McBAY,
Plaintiff,

VERSUS CIVIL ACTION NO: 1:07cv1l205LG-RHW

HARRISON COUNTY, MISSISSIPPI,
by and through its Board of
Supervisors; HARRISON COUNTY
SHERIFF, George Payne, in his
official capacity CORRECTIONS
OFFICER MORGAN THOMPSON,
acting under color of state law,
Defendants.

DEPOSITION OF GARY BRICE MCBAY

Taken at the offices of Brown Buchanan,
P.A., 796 Vieux Marche! Mall, Suite 1,
Biloxi, Mississippi, on Tuesday, August
18, 2009, beginning at 12:30 p.m.

APPEARANCES:

PATRICK R. BUCHANAN, ESQUIRE

Brown Buchanan, P.A.

796 Vieux Marche! Mall, Suite 1

Biloxi, Mississippi 39530
ATTORNEY FOR PLAINTIFF

JOE C. GEWIN, ESQUIRE

HALEY BROOM, ESQUIRE

Dukes, Dukes, Keating & Faneca, P.A.

2909 13th Street, Sixth Floor

Gulfport, Mississippi. 39501...
ATTORNEYS | FOR (GEORGE PAYNE, OR.

SIMPSON BURDINE & MIGUES (228) 388-3130 EXHIBIT
E-mail: lmigues@sbmreporting.com

van

Case 1:07-cv-01205-LG-RHW | Document 300-2 Filed 11/13/09 Page 2 of11

Page Ly

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICEH McBAY,
Plaintiff,

VERSUS CIVIL ACTION NO: 1:07cvil205LG-RHW

HARRISON COUNTY, MISSISSIPPI,

by and through its Board of

Supervisors; HARRISON COUNTY

SHERIFF, George Payne, in his

official capacity CORRECTIONS

OFFICER MORGAN THOMPSON,

acting under color of state law,
Defendants.

DEPOSITION OF GARY BRICE MCBAY

Taken at the offices of Brown Buchanan,
P.A., 796 Vieux Marche' Mall, Suite 1, :
Biloxi, Mississippi, on Tuesday, August :
18, 2009, beginning at 12:30 p.m. |

APPHARANCES:

PATRICK R. BUCHANAN, ESQUIRE

Brown Buchanan, P.A.

796 Vieux Marche' Mall, Suite 1

Biloxi, Mississippi 39530
ATTORNEY FOR PLAINTIFF

JOE C. GEWIN, ESQUIRE

HALEY BROOM, ESQUIRE

Dukes, Dukes, Keating & Faneca, P.A.

2909 13th Street, Sixth Floor

Gulfport, Mississippi. 39501 .
ATTORNEYS FOR GEORGE PAYNE, “OR.

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@sbmreporting.com
Case 1:07-cv-01205-LG-RHW. Document 300-2 Eiled. 11/13/09 Page 3 of 11

{4

apartment?
A. I sure don't, sir.
Q. So did you go -- you took your truck,

went to the bar by yourself?

A. Yes, sir.

Q. About what time did you get there?

A. Maybe 6:30.

Q.: Okay. Had you been to this bar before?
A. No, sir.

Q. How did you pick out Chopper's?

A. Because I had drove around the area just
because I was here, you know, evaluating the area,
damages.

Q. So had you seen Chopper's Lounge before
and knew it was here?

A. Yes.

Q. Okay. Did you know what kind of crowd

hung out there?

A. No, sir.

Q. Did Chopper's give you a clue?

A. It does now.

QO. So you got there at 6:30. Had you been

drinking before you got there?
A. No, sir.

Q. All right. So tell me --: just lead me

Page 22

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@sbmreporting.com

Gase-t:07 ev 04205-LG-RHYW—Becument 300-2 —_ Filed 44/43/09-—Page4 ef 44
Page 23

1 through You went in, and then what happened?

2 A. IT had a couple of beers, and obviously

3 I -- they wanted me to leave.

4 Q. After you had two beers or more than

5 two?

6 A More.

7 Q More?

8 A Yes.

9 Q. How much more?

10 A I don't recall.

iL QO Do you remember how drunk you were?
12 A I don't recall.

13 Oo Well, tell me what you do recall about
14 that evening while you were in Chopper's.

15 A. While I was at Chopper's?

16 Q. You remember going in --

17 A. Yes, sir

18 Q. -- and having more than two beers?

19 A. Yes, sir.

20 Q. About what time of the night was it that
21 you tried to leave?

22 A. I don't recall.

23 Q. Did you léave on your own, just walk

24 out, or did someone escort you out?

25 A. I was; esbortedy

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigques@sbmreporting.com

24

25

Case 1:07-cv-01205-LG-RHW___ Document 300-2 Filed 11/13/09 Page5of11

Q. Did you read his deposition?
A. No, sir.
Q. Do you remember the cops showing up at

Chopper's bar?

A. No, sir.

QO. You don't remember having an altercation
with Mr. Randazzo?

A. No, sir.

Q. Do you remember the cops doing or saying

anything to you at the bar?

A. No, sir.

Q. “Do you remember them hogtying you?

A. Yes, sir.

Q. That was the cops at Chopper's, right?
A. Yes, sir

Q. You remember that, but you're blank --
A. Yes, sir.

QO. -- the time between that? How can you
remember that one incident without anything else
around it?

A. Don't know, sir.

Q. . So the police came in. They hogtied
you. That means hands and legs behind you and
tied up?

A. At some point in the night; I was

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigques@sbmreporting.com

Page 25

24

25

Case 1:07-cv-01205-LG-RHW_ Document 300-2 _ Filed 11/13/09 Page 6 of 11
Page 26 |

hogtied. :
Q. Did I describe that -- your legs and

hands behind your back --

A. Yes, sir.

Q. -- and tied together?

A. Yes, sir.

Q. Did they throw you in the backseat of

the police car?
A. I was put in -- I was placed in the

backseat of the cop car.

Q. «© You were hogtied at the time?

Aver I do believe so.

Q. Do you know why they had to hogtie you?
A. I do not.

Q. You don't know if you were being unruly

or anything?

A. No, sir.

oO. So do you remember the ride from
Chopper's in the backseat? Were you hogtied the

whole time?

A. I don't recall.

Q Do you remember getting to the jail?
A. No, Sir.

Q. So you don't know if you were still

hogtied or not?

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigques@®sbmreporting.com
Case 1:07-cv-01205-LG-RHW _ Document 300-2 Filed 11/13/09 Page7of11

Page 27
A. No, sir.
Q. Do you remember if you were handcuffed
by the arresting officers?
A. No, sir. I was hogtied, so obviously I

was handcuffed.

Q. But your legs were secured, too, also,
right?

A. Correct.

Q. Did they use shackles or handcuffs or
what?

A. I don't recall.

Q. So what happened when you got to the

jail? Is your memory good about that?

A. What part?

Q. When you got to the jail in the police .
car.

A. No.

Q. §Do. you remember going in the jail?

A. ~No.

Q. Do you remember standing at the counter

and being processed into the jail?

A. No, sir.

QO... Do you remember going through the
booking room at all that day?

A. No, sir. |

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@sbmreporting.com

Gase-4+:07-ev-04205-L6-RHY—_ Decument 3602—Filed-44/43/09—Page s-efit
Page 28

1 QO. Do you remember going into the shower?

2 A. No, sir.

3 QO. Do you remember coming out of the

4 shower?

5 A. No, sir.

6. Q. What do you remember after _- do you

7 remember having a jail uniform put on you?

8 A. No, sir.

9 Q. Do you remember having your photo made?
10 A. Yes, sir.

11 Q. Okay. How. long after -- when was your
12 photo made after you got to the jail? Do you have
13 any idea how long of time passed by?

14 A. The next morning.

15 Q. So you were photographed the next

16 morning?
17 A. Yes.

18 Q. Is that pretty much the first thing you
19 remember?

20 A. No.

21 Q. What is the first thing you remember?

22 A. Being beat.

23 Q. Okay. I just asked if you remembered

24 going into the shower and what happened and coming
25 out, and you didn't remember.

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@®sbmreporting.com

Case 1:07-cv-01205-LG-RHW Document 300-2 _ Filed 11/13/09 Page 9 of 11

24

25

A, I don't recall.
Q. Do you know where else you would have

been hit?

A. I don't recall.

Q. Do you remember coming out of the
shower?

A. No.

Q. Okay. Did your attorney show you the

videotape of the booking area?

A. Yes, sir.

QO. So if you remember something today,
could it be because of looking at that video?

A. No, sir.

Qeor You remember that one part right in the

middle, correct?

A. What part in the middle?

Q. In the shower being beat.

A. Right.

Q. And do you remember what you were saying

or doing at the time?
A. Please, no more.

Do you remember anything else you said?

A. No, sir.
Q. Were you cursing the officers?
A. I don't recall.

Page 30

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@sbmreporting.com

24

25

Q. Do you remember just making noises and

talking a lot?
A. I don't recall.
Ov But you remember, "please, no more,"

that one sentence?

A. Yes, sir.

QO. Ts that correct?

A... Yes, sir.

Q. Can you tell me how you remember that

one sentence and can't remember anything else you
said or did?

A. Can't tell you.

Q. aSo. you came out of the shower, and then
you were dressed in your prison garb and went to

the holding blocks; is that right?

A. I suppose.

Q. But you're not sure?

A. That's right.

Q. But you do remember having your photo

made that next morning?

A. Yes, sir.

Q. Okay. And what happened after that?

A. I was put back into the holding cell.
Q. And what happened? Did you bond out?
A. I'm sorry, sir. :

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@sbmreporting.com

Case-+:67-ev-04205-L6-RHY—_ Beecument 300-2— Fed 44443/09—Page++-eH4+
Page 32
1 Q Did you. bond out of jail at that. time?
2 A. Yes, sir.
3 QO Who came to get you?
4 A My parents. And ASAP Bail Bonds.
5 Q. What happened to the charges against you
6 from Chopper's?
7 A. Everything was dropped.
8 Q. Are you sure?
9 Aw As far as I know.
10 QO. While we're on the area of the -- your
il criminal history, back in October of 1994, you
12 were arrested for aggravated assault with a deadly
13 weapon; is that correct?
14 A. That's correct.
15 Q. Tell me about that. Who did you
16 assault, when and why?
17 A. Iowas assaulted -- or I assaulted a
18 gentleman in ag class.
19 QO. At school?
20 A Yes, sir.
21 O Were you a junior or senior then?
22 A. Senior.
23 © And what was the altércation about?
24 A. He wanted to bully me.
25 Q. That happenéa stot in youx career,

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: lmigues@sbmreporting.com

